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---------- Forwarded message ---------
From: Noah Simblist
Date: Sun, Oct 28, 2018 at 4:00 PM
Subject: incident on Thursday
To: Noah Simblist
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Dear PAPR students, faculty, and staff

This past Thursday, October 25, there was an incident in which a senior faculty member encountered an adjunct visiting professor in room 313
– a room typically used as an adjunct co-working space and seminar room. They did not talk to the adjunct but contacted FAB Security.
Security asked for their VCU ID, determined that they were a faculty member, and left.

The adjunct faculty member contacted me to let me know that this had occurred and I immediately apologized and went to speak with the
senior faculty member who confirmed the basic facts of the situation. I then contacted the appropriate offices at VCU and VCUarts to address
the situation, which is an ongoing process. These offices include Access and Equity, the Dean's office at VCUarts, including the Director of
Diversity and Inclusion, and The Division of Inclusive Excellence was also consulted.

Please know that we are taking this complaint very seriously and that I have been in contact with the adjunct professor to make sure that they
feel respected and are comfortable moving forward to do their job.

We value diversity in all of its forms and support a community in which individuals of different perspectives, life experiences and cultural
backgrounds are welcomed. We encourage any member of the VCU community who feels they’ve been discriminated against to contact VCU
Equity and Access Services at 804-828-1347 or equity@vcu.edu.

Please let me know if you have any questions.

Sincerely,

Noah Simblist


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Noah Simblist
Chair and Associate Professor
Dept. of Painting and Printmaking
VCU School of the Arts
1000 W. Broad Street
Richmond, VA 23284-3005

http://arts.vcu.edu/paintingprintmaking/
